              Case 2:20-cv-01430-RSM Document 15 Filed 09/28/21 Page 1 of 6




                                                                       JUDGE RICARDO S. MARTINEZ
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 7                              UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
   AVALON CONDOMINIUM HOMEOWNER’S
 9
   ASSOCIATION, a Washington Non-Profit
10 Corporation,                                            NO. 2:20-cv-01430-RSM

11                                  Plaintiff,             STIPULATED MOTION AND ORDER TO
                                                           CONTINUE DEADLINE FOR FILING
12 v.                                                      MOTIONS RELATED TO DISCOVERY AND
                                                           DEADLINE FOR DISCOVERY TO BE
13
                                                           COMPLETED
14 CENTURY SURETY COMPANY, an Ohio
   Corporation; and DOE INSURANCE                          NOTE ON MOTION CALENDAR:
15 COMPANIES 1–10,                                         SEPTEMBER 24, 2021
16                                  Defendants.
17
                                       I.        STIPULATED MOTION
18
            Come now, Plaintiff Avalon Condominium Homeowner’s Association (“Association”) and
19
     Defendant Century Surety Company (“Century”), by and through their respective counsel, and
20
     stipulate to this motion for a continuance of the deadlines for filing motions related to discovery and
21
     for discovery to be completed.
22
            Counsel for the Association and Century have met and conferred and propose an extension
23
     of the following deadlines:
24
                                                 Current Deadline              Proposed Deadline
25    Deadline for Filing Motions                  10/01/2021                     10/15/2021
26    Related to Discovery
      Discovery Completed By                       11/01/2021                      11/15/2021
27
        STIPULATED MOTION AND ORDER TO                            STEIN, SUDWEEKS & STEIN, PLLC
        CONTINUE DEADLINE FOR FILING MOTIONS                          2701 1ST AVE., SUITE 430
                                                                         SEATTLE, WA 98121
        RELATED TO DISCOVERY AND DEADLINE FOR                    PHONE 206.388.0660 FAX 206.286.2660
        DISCOVERY TO BE COMPLETED - 1
              Case 2:20-cv-01430-RSM Document 15 Filed 09/28/21 Page 2 of 6




 1                                    II.     GOOD CAUSE SHOWN
 2
            Pursuant to LCR 16(b)(6), a scheduling order may be modified “only for good cause and
 3
     with the judge’s consent.” Good cause exists here because the parties have agreed to enter into
 4
     mediation of this matter on September 28, 2021. For purposes of judicial economy, the parties
 5
     propose that the deadlines for filing motions related to discovery and for discovery each be
 6
     extended two weeks to allow the parties to prepare discovery motions and take depositions after the
 7
     mediation, if necessary. No previous extensions of time have been requested or granted by the
 8
     Court in this matter, and this extension is not made for purposes of delay, but rather to permit the
 9
     parties additional time in an attempt to resolve this matter amicably without incurring substantial
10
     further costs or requiring additional time and resources on behalf of the Court. The parties
11
     respectfully request that the Court extend the currently scheduled deadlines as set forth above. A
12
     proposed order is included herewith.
13
     STEIN, SUDWEEKS & STEIN, PLLC
14
   /s/ Jessica R. Burns
15 Jerry H. Stein, WSBA 27721
   Justin D. Sudweeks, WSBA 28755
16 Daniel J. Stein, WSBA 48739
   Jessica Burns, WSBA 49852
17 2701 First Avenue, Suite 430
   Seattle, WA 98121
18 Email: jerry@condodefects.com

19 Email: justin@condodefects.com
   Email: dstein@condodefects.com
20 Email: jessica@condodefects.com
   Telephone: (206) 388-0660
21 Facsimile: (206) 286-2660
   Attorneys for Plaintiff
22

23 WILLIAMS, KASTNER & GIBBS, PLLC

24 /s/ Eliot M. Harris
   Eliot M. Harris, WSBA No. 36590
25 Miles J. Stewart, WSBA No. 46067
   601 Union Street, Suite 4100
26
   Seattle, WA 98101-2380
27
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       DISCOVERY TO BE COMPLETED - 2
           Case 2:20-cv-01430-RSM Document 15 Filed 09/28/21 Page 3 of 6




   Phone: (206) 628-6600
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   Email: Eharris@williamskastner.com
 2 Email: Mstewart@williamskastner.com
   Attorneys for Defendant
 3

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     DISCOVERY TO BE COMPLETED - 3
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 1
                                                  ORDER
 2
            Based on the above Stipulated Motion, IT IS SO ORDERED that the deadlines for filing
 3
     motions related to discovery and for discovery to be completed are extended as follows:
 4

 5                                            Current Deadline               Proposed Deadline
      Deadline for Filing Motions               10/01/2021                      10/15/2021
 6    Related to Discovery
      Discovery Completed By                     11/01/2021                      11/15/2021
 7
            No other deadlines or events are altered.
 8
            DATED this 28th day of September, 2021.
 9

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12                                                A
                                                  RICARDO S. MARTINEZ
13
                                                  CHIEF UNITED STATES DISTRICT JUDGE
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18 STEIN, SUDWEEKS & STEIN, PLLC

19 /s/ Jessica R. Burns
   Jerry H. Stein, WSBA 27721
20 Justin D. Sudweeks, WSBA 28755
   Daniel J. Stein, WSBA 48739
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   Email: dstein@condodefects.com
   Email: jessica@condodefects.com
25 Telephone: (206) 388-0660
   Facsimile: (206) 286-2660
26 Attorneys for Plaintiff

27
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       RELATED TO DISCOVERY AND DEADLINE FOR                   PHONE 206.388.0660 FAX 206.286.2660
       DISCOVERY TO BE COMPLETED - 4
           Case 2:20-cv-01430-RSM Document 15 Filed 09/28/21 Page 5 of 6




     WILLIAMS, KASTNER & GIBBS, PLLC
 1

 2 /s/ Eliot M. Harris
   Eliot M. Harris, WSBA No. 36590
 3 Miles J. Stewart, WSBA No. 46067
   601 Union Street, Suite 4100
 4 Seattle, WA 98101-2380
   Phone: (206) 628-6600
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   Email: Eharris@williamskastner.com
 6 Email: Mstewart@williamskastner.com
   Attorneys for Defendant
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      DISCOVERY TO BE COMPLETED - 5
              Case 2:20-cv-01430-RSM Document 15 Filed 09/28/21 Page 6 of 6




 1
                                      CERTIFICATE OF SERVICE
 2
            I hereby certify that on September 24, 2021, a copy of the foregoing Document and this
 3
     Certificate of Service were served on counsel below as noted:
 4
   Attorneys for Century Surety Company:             
 5 Eliot M. Harris, WSBA No. 36590                   ‫܆‬via US Mail
   Miles J. Stewart, WSBA No. 46067                  ‫ ܆‬via Legal Messenger
 6 Williams, Kastner & Gibbs PLLC
                                                     ‫ ܇‬via CM/ECF
 7 601 Union Street, Suite 4100                      ‫ ܆‬via E-Mail
   Seattle, WA 98101-2380
 8 Phone: (206) 628-6600
   Email:
 9 Eharris@williamskastner.com
   Mstewart@williamskastner.com
10
   Kmosebar@williamskastner.com
11 Sblair@williamskastner.com

12          I declare under penalty of perjury under the laws of the United States that the
     foregoing is true and correct.
13
            SIGNED this 24th day of September, 2021 at Seattle, Washington.
14
                                          s/Zach Heafner
15                                        Zach Heafner, Paralegal
16                                        2701 First Avenue, Suite 430
                                          Seattle, WA 98121
17                                        Email: zach@condodefects.com
                                          Phone: (206) 388-0660
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       DISCOVERY TO BE COMPLETED - 6
